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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,
                                                               Case No.: 1:19-cv-3851
        Plaintiffs,
                                                               Judge Matthew F. Kennelly
v.
                                                               Magistrate Judge Jeffrey Cummings
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.


                                   NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs hereby file this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) on Schedule A with leave to

reinstate within ninety (90) days if the agreed settlement payment is not received. After ninety

(90) days, the dismissal is with prejudice.

                NO.                                 DEFENDANT

                432                                    Egoelife



DATED: September 13, 2019                           Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    111 West Jackson Boulevard, Suite 1700
                                                    Chicago, Illinois 60604
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                                                    ATTORNEY FOR PLAINTIFF
   Case: 1:19-cv-03851 Document #: 40 Filed: 09/13/19 Page 2 of 2 PageID #:4993




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on September 13, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt, Esq.




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